Case 8:21-cv-00265-DOC-KES Document 57 Filed 10/06/21 Page 1 of 2 Page ID #:240


1    Michael L. Wroniak (State Bar No. 210347)
2    Rada Feldman (State Bar No. 285931)
     COLLINS + COLLINS LLP
3    750 The City Drive, Suite 400
4    Orange, CA 92868
     (714) 823-4100 – FAX (714) 823-4101
5    Email: mwroniak@ccllp.law
6    Email: rfeldman@ccllp.law
7    Attorneys for Defendants
8    COUNTY OF ORANGE; ORANGE COUNTY SHERIFF’S DEPARTMENT;
     PATRICK BAEK; DANIEL PACKHAM; CHAD DAVIS and DENISE FRENCH
9

10                             UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
     MELANIE SMITH,                )          CASE NO. 8:21-cv-00265-DOC-KES
13                                 )          Honorable David O. Carter; Courtroom 9D
14                   Plaintiff,    )
                                   )          [Discovery Document: Referred to
15       vs.                       )          Magistrate Judge Karen E. Scott]
16                                 )
     COUNTY OF ORANGE; ORANGE )               [PROPOSED] ORDER ON JOINT
17   COUNTY SHERIFF’S              )          STIPULATION FOR PROTECTIVE
18   DEPARTMENT; DEPUTY PATRICK )             ORDER
     BAEK #3313; DEPUTY D.         )
19   PACKHAM #4758; DEPUTY         )          Complaint Filed: February 9, 2021
20   INVESTIGATOR C. DAVIS #08146; )          Amended Complaint Filed: June 7, 2021
     DEPUTY D. FRENCH #8378, and   )
21   DOES 1 through 10, Inclusive  )          Trial Date: August 2, 2022
22                   Defendants.   )
                                   )
23                                 )
24                                 )
                                   )
25

26   ///
27   ///
28
     FILE # 23085
                                                1
                    [PROPOSED] ORDER JOINT STIPULATION FOR PROTECTIVE ORDER
Case 8:21-cv-00265-DOC-KES Document 57 Filed 10/06/21 Page 2 of 2 Page ID #:241


1                                       [PROPOSED] ORDER
2
               Pursuant to the “Joint Stipulation for Protective Order,” by and between Defendants
3

4    County of Orange, Orange County Sheriff’s Department, Patrick Baek, Daniel Packham,

5    Chad Davis, and Denise French, and Plaintiff Melanie Smith (Dkt. 56), and good cause
6
     appearing, the Court adopts the parties’ Joint Stipulation as its Order.
7

8              IT IS SO ORDERED.
9

10
     DATED: October 6, 2021
11
                                              By: _______________________________
12                                                 HON. KAREN E. SCOTT
13                                                 United States District Judge
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     FILE # 23085
                                                2
                    [PROPOSED] ORDER JOINT STIPULATION FOR PROTECTIVE ORDER
